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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                  )
In re:                            )                                 Chapter 11
                                  )
CENTER CITY HEALTHCARE, LLC d/b/a )                                 Case No. 19-11466 (MFW)
HAHNEMANN UNIVERSITY HOSPITAL, et )
al.,1                             )                                 Jointly Administered
                                  )
                    Debtors.      )                                 Re: Docket No. 4902
                                  )

         CERTIFICATION OF NO OBJECTION TO FOURTEENTH INTERIM FEE
        APPLICATION OF SAUL EWING LLP, COUNSEL TO THE DEBTORS, FOR
      ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR
         THE PERIOD FROM OCTOBER 1, 2022 THROUGH DECEMBER 31, 2022

               The undersigned counsel to the above-captioned debtors and debtors-in-possession hereby

  certifies that:

               1.          On October 11, 2023, the Fourteenth Interim Fee Application of Saul Ewing LLP,

  Counsel to the Debtors, for Allowance of Compensation and Reimbursement of Expenses for the

  Period from October 1, 2022 through December 31, 2022 (the “Application”) and the Notice of

  Fourteenth Interim Fee Application of Saul Ewing LLP (the “Notice”) [Docket No. 4902] were

  filed with the Court.

               2.          Pursuant to the Notice, objections, if any, to the Application were required to be

  filed with the Court and served on the undersigned so as to be received on or before 4:00 p.m. on

  October 31, 2023 (the “Objection Deadline”).



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               The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
               are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
               Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA,
               L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center,
               L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics,
               L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS
               IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is 216 North Broad
               Street, 4th Floor, Philadelphia, Pennsylvania 19102.

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             3.          The Objection Deadline has passed and no formal objections or responses were

served upon the undersigned counsel or entered on the Court’s docket.


Dated: November 1, 2023                             SAUL EWING LLP

                                             By:    /s/ Monique B. DiSabatino
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                                                    Monique B. DiSabatino (DE Bar No. 6027)
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                                                           -and-

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                                                    Counsel for Debtors and Debtors in Possession




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